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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )              CASE NO. 8:07CR71
                                               )
              Plaintiff,                       )
                                               )
              vs.                              )          TENTATIVE FINDINGS
                                               )
SAMUEL HERNANDEZ-MONTILL,                      )
                                               )
              Defendant.                       )


       The Court has received the Presentence Investigation Report (“PSR”) and the

Defendant’s objections thereto (Filing No. 156). The government adopted the PSR. (Filing

No. 146.) See Order on Sentencing Schedule, ¶ 6. The Court advises the parties that

these Tentative Findings are issued with the understanding that, pursuant to United States

v. Booker, 543 U.S. 220 (2005), the sentencing guidelines are advisory.

       The Defendant objects to the lack of a mitigating role adjustment in ¶ 32 pursuant

to U.S.S.G. § 3B1.2. The Court has also reviewed the Defendant’s motion for downward

departure or deviation (Filing No. 157) and sentencing brief (Filing No. 158). These issues

will be addressed at sentencing.

       IT IS ORDERED:

       1.     The Defendant’s Objection to the Presentence Investigation Report (Filing

No. 156) will be addressed at sentencing;

       2.     Otherwise the Court’s tentative findings are that the Presentence

Investigation Report is correct in all respects;

       3.     If any party wishes to challenge these tentative findings, the party shall

immediately file in the court file and serve upon opposing counsel and the Court a motion
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challenging these tentative findings, supported by (a) such evidentiary materials as are

required (giving due regard to the requirements of the local rules of practice respecting the

submission of evidentiary materials), (b) a brief as to the law, and (c) if an evidentiary

hearing is requested, a statement describing why an evidentiary hearing is necessary and

an estimated length of time for the hearing;

       4.     Absent submission of the information required by paragraph 3 of this Order,

my tentative findings may become final;

       5.     Unless otherwise ordered, any motion challenging these tentative findings

shall be resolved at sentencing; and

       6.     The Defendant’s motion for downward departure or deviation (Filing No. 157)

will be addressed at sentencing.

       DATED this 12th day of September, 2007.

                                          BY THE COURT:


                                          s/Laurie Smith Camp
                                          United States District Judge




                                               2
